Case 1:19-cv-00444-CFC-CJB Document 510 Filed 02/08/23 Page 1 of 2 PageID #: 19900




                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE



   BIODELIVERY SCIENCES
   INTERNATIONAL, INC. and ARIUS
   TWO, INC.,

         Plaintiffs/Counterclaim Defendants,

         v.                                    C.A. No. 19-444-CFC-CJB

   CHEMO RESEARCH S.L., INSUD
   PHARMA S.L.U., INTELGENX CORP.,
   and INTELGENX TECHNOLOGIES
   CORP.,

         Defendants/Counterclaim Plaintiffs.


   BIODELIVERY SCIENCES
   INTERNATIONAL, INC. and ARIUS
   TWO, INC.,

         Plaintiffs/Counterclaim Defendants,

         v.                                    C.A. No. 22-1196-CFC

   CHEMO RESEARCH S.L., INSUD
   PHARMA S.L.U., INTELGENX CORP.,
   INTELGENX TECHNOLOGIES CORP.,
   and XIROMED, LLC,

         Defendants/Counterclaim Plaintiffs.



        STIPULATION AND [PROPOSED] ORDER TO EXTEND TIME
Case 1:19-cv-00444-CFC-CJB Document 510 Filed 02/08/23 Page 2 of 2 PageID #: 19901




        IT IS HEREBY STIPULATED AND AGREED by and between the parties,

  through their undersigned counsel and subject to the approval of the Court, that the

  deadline to file a redacted version of the Joint Status Report (D.I. 508 in 19-444-

  CFC, D.I. 17 in 22-1196-CFC) is hereby extended to February 10, 2023.



  MORRIS, NICHOLS, ARSHT                       YOUNG CONAWAY STARGATT
  & TUNNELL LLP                                & TAYLOR, LLP

  /s/ Jeremy A. Tigan                          /s/ Samantha G. Wilson
  Jack B. Blumenfeld (#1014)                   Anne Shea Gaza (#4093)
  Jeremy A. Tigan (#5239)                      Samantha G. Wilson (#5816)
  1201 N. Market Street                        Rodney Square
  P.O. Box 1347                                1000 North King Street
  Wilmington, DE 19899                         Wilmington, DE 19801
  (302) 658-9200                               (302) 571-6600
  jblumenfeld@morrisnichols.com                agaza@ycst.com
  jtigan@morrisnichols.com                     swilson@ycst.com

  Attorneys for Plaintiffs                     Attorneys for Defendants

  Dated: February 8, 2023



                SO ORDERED this ____ day of ___________, 2023.



                                                United States District Court Judge




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